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                 UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                           SAVANNAH DIVISION
UNITED STATES OF AMERICA               )
                                       )
v.                                     )            CR417-050
                                       )
JOSHUA SCOTT AND                       )
VICTOR NATSON                          )

                                     ORDER

      This case is scheduled for trial on May 14, 2018 (doc. 146), and

several pre-trial evidentiary motions are before the Court. Docs. 161 &

171. The Court directed the defendants to disclose whether they opposed

the Government’s request that several proposed exhibits be recognized

as self-authenticating.      Doc. 170.      Both defendants have responded,

indicating that they do not oppose the Government’s request. Doc. 172

(Natson response); doc. 1731 (Scott response).                   Accordingly, the

Government’s request is GRANTED as unopposed.                      Doc. 161.     The

following evidence, more fully described in the Government’s motion, is

deemed     self-authenticating      such    that    no    extrinsic   evidence     of

authenticity is required for its admission:


1
   Scott’s response to the Court’s Order was docketed as a motion. See doc. 173.
Since it merely reports Scott’s consent to the self-authentication of the Government’s
evidence, it is not a motion. The Clerk is, therefore, DIRECTED to terminate the
motion in the Court’s docketing software.
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   (1)     the video from the SunTrust Bank on October 14, 2016,

   (2)     Verizon and T-Mobile phone records, and

   (3)     data copied from two cellular phones.

         After the Court directed defendants to indicate whether or not they

opposed the Government’s first motion in limine, it has filed a second.

See doc. 171. The trial schedule once again dictates that these requests,

like the first, be handled with dispatch. As discussed more fully below,

the requests are provisionally granted. Of necessity, evaluating these

requests required reliance on general principles, and not consideration of

specific pieces of proffered evidence and targeted objections. They thus

merely provide a prophylactic against the introduction of subjects that

could “irretrievably affect the fairness of the trial.’”         Benson v.

Facemeyer, 2017 WL 1400558 at * 1 (N.D. Ga. April 19, 2017 (quoting

Soto v. Geico Indem. Co., 2014 WL 3644247, at * 1 (M.D. Fla. July 21,

2014)).      Any ruling on the admissibility of particular evidence or

testimony is thus deferred to the District Judge at trial. See id. (citing

Ohler v. United States, 529 U.S. 753, 758 n. 3 (2000)) (“Limine rulings

are provisional rulings, and the trial judge may reverse the decision

during the course of a trial.”).

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     I.    Hearsay Evidence and Insanity Defense

     Several of the Government’s arguments appear to seek nothing

more than an assurance that familiar and longstanding rules of evidence

and criminal procedure will apply. See id. at 1-3. The rules concerning

the limited admissibility of hearsay will, of course, apply. See Fed. R.

Evid. 801-806.    The application of Fed. R. Crim. P. 12.1 to this

proceeding is similarly clear -- the pre-trial motions deadline has long

passed and defendants have not sought leave to file a late insanity-

defense notice. Insanity evidence may thus be excluded. See Fed. R.

Crim. P. 12.2(d)(2). The Government’s requests to exclude hearsay and

either defendant’s assertion of an insanity defense, therefore, are

GRANTED.

     II.   Expert Testimony

     The Government’s motion notes that Defendant Scott has listed

Allyson Wood, the Bureau of Prisons’ psychologist who prepared a report

on his competency to stand trial in this matter (doc. 136), among his

potential witnesses. Doc. 171 at 3 (citing doc. 168). The Government

seeks to exclude any testimony she might provide in support of an

insanity defense or any other expert testimony on his mental condition

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bearing on his guilt, because he failed to provide the required notice. See

id. at 2-3 (citing Fed. R. Crim. P. 12.2(a) (requiring notice of intent to

assert insanity defense); Fed. R. Crim. P. 12.2(b) (requiring notice of

intent to introduce expert evidence “relating to a mental disease or

defect or any other mental condition . . . bearing on . . . the issue of

guilt.”)). To the extent that Scott intends to solicit testimony from Dr.

Wood for any purpose covered by Rule 12.2, the Government’s motion is

GRANTED.

     The Government also seeks to preclude Defendant Natson from

offering any expert testimony at trial because no such expert was

disclosed during reciprocal discovery. Doc. 171 at 4. The Government

moved for reciprocal discovery, and the parties informed the Court that

all obligations had been complied with or resolved by agreement. See

doc. 96 (Motion); doc. 113 (Order); see also Fed. R. Crim. P. 16(b)(1)(C)

(requiring Natson to disclose expert witnesses in order to comply with

his reciprocal discovery obligations). Among the remedies for a party’s

failure to discharge his discovery obligations is that the Court may

“prohibit that party from introducing the undisclosed evidence.” Fed. R.

Crim. P. 16(d)(2)(C). Defendant Natson has not submitted a proposed

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witness list, so it is not clear whether any of his proposed witnesses are

excludable under the Rule.     Accordingly, the Government’s motion is

GRANTED, to the extent that Defendant Natson intends to call an

undisclosed expert witness within the meaning of Rule 16.

     III. Alibi Witnesses

     The Government requested that the defendants, respectively,

disclose their intent to assert an alibi defense. Doc. 171 (citing docs. 95,

114, & 115); see also Fed. R. Crim P. 12.1 (requiring notice of intent to

assert alibi defense in response to Government request).         Defendant

Natson responded that he “does not intend to rely upon an alibi defense

and therefore has no information to disclose” pursuant to the

Government’s request.     Doc. 125.       Defendant Scott did not file any

response and the Government proffers that he made none. See doc. 171

at 4-5.   A defendant’s failure to comply with a Rule 12.1 request is

grounds for the Court to “exclude the testimony of any undisclosed

witness regarding the defendant’s alibi,” but “does not limit the

defendant’s right to testify.” Fed. R. Crim. P. 12.1(e). Accordingly, the

Government’s request is GRANTED.




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     IV.   Undisclosed Evidence

     Finally, the Government seeks to preclude Defendant Natson from

offering any evidence that was not disclosed in reciprocal discovery. Doc.

171 at 5. The Government proffers that Natson provided no response to

its request for reciprocal discovery. Id. Thus, he should be precluded

from offering any evidence subject to a disclosure obligation. Id.

     Preclusion of undisclosed evidence is among the sanctions available

under Rule 16. See Fed. R. Crim. P. 16(d)(2)(C). The Supreme Court has

clarified that there is no constitutional violation when such a sanction is

imposed on a criminal defendant. See Taylor v. Illinois, 484 U.S. 400,

414 (1988); see also Reeves v. Sec’y, Dept. of Corrs., 549 F. App’x 838, 844

(11th Cir. 2013) (“The Supreme Court has repeatedly declared that

courts may exclude relevant evidence -- even evidence of a defendant’s

innocence -- where a defendant fails to comply with a valid procedural

rule.”). The Taylor Court cautions, however, that alternative sanctions

will often be “adequate and appropriate.” Taylor, 484 U.S. at 413.

     The Government’s motion to preclude Natson from introducing

any undisclosed evidence is, therefore, GRANTED. Natson, however,

remains free to move the Court, subject to adequate explanation, to

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admit evidence despite its non-disclosure. See Taylor, 484 U.S. at 415

(“[a] trial judge may certainly insist on an explanation” for non-

disclosure).

     SO ORDERED, this 8th day of May, 2018.




                                    7
